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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 9

10      UNITED STATES OF AMERICA,
                                                           CASE NO. CR12-5129RJB
11                             Plaintiff,
                                                           INITIAL ORDER RE:
12              v.                                         ALLEGATIONS OF VIOLATION OF
                                                           CONDITIONS OF SUPERVISION
13      VAL J. WILLIAMS,

14                             Defendant.

15

16          THIS MATTER comes on for an initial hearing on the Petition of the United States

17 Pretrial Services Office alleging that the defendant has violated the conditions of supervision.

18          The plaintiff appears through Assistant United States Attorney, Matthew Thomas.

19          The defendant appears personally and represented by counsel, John Lundin.

20          The U.S. Pretrial Services Office has filed a petition alleging violations of the
            terms and conditions of supervision, and the defendant has been advised of the
21          allegation(s).

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     INITIAL ORDER RE: ALLEGATIONS OF
     VIOLATION OF CONDITIONS OF
     SUPERVISION - 1
             Case 3:12-cr-05129-RJB         Document 68         Filed 09/13/12      Page 2 of 2




 1          The court finds probable cause with regard to the allegation(s) and schedules a
            hearing on the petition to be held at the time and date below set forth before Judge
 2          Karen L. Strombom:

 3                  Date of hearing: Tuesday, September 18, 2012

 4                  Time of hearing: 1:30pm

 5          IT IS ORDERED that the defendant

 6          __ Be released on an appearance bond, subject to the terms and conditions set
            forth thereon.
 7
            X Be detained for failing to show that he/she will not flee or pose a danger to any
 8          other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be
            delivered as ordered by the court for further proceedings.
 9
            The clerks shall direct copies of this order to counsel for the United States, to counsel for
10
     the defendant, the United States Marshal and to the United States Probation Office and/or
11
     Pretrial Services Office.
12
            Dated this 13 day of September, 2012.
13
                                                          s/ J Kelley Arnold
14                                                        J Kelley Arnold
                                                          United States Magistrate Judge
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     INITIAL ORDER RE: ALLEGATIONS OF
     VIOLATION OF CONDITIONS OF
     SUPERVISION - 2
